                               United States Court of Appeals
                                     For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South 10th Street, Room 24.329
                                    St. Louis, Missouri 63102
                                                                             VOICE (314) 244-2400
Michael E. Gans
                                                                               FAX (314) 244-2780
 Clerk of Court
                                                                             www.ca8.uscourts.gov

                                                            March 10, 2023


Mr. Jeff P. Johnson
ATTORNEY GENERAL'S OFFICE
207 W. High Street
P.O. Box 899
Jefferson City, MO 65102-0000

       RE: 23-1457 United States v. State of Missouri, et al

Dear Counsel:

        The district court clerk has transmitted a notice of appeal and docket entries in this
matter, and we have docketed them under the caption and case number shown above. Please
include the caption and the case number on all correspondence or pleadings submitted to this
court.

      Counsel in the case must supply the clerk with an Appearance Form. Counsel may
download or fill out an Appearance Form on the "Forms" page on our web site at
www.ca8.uscourts.gov.

        The court has established a briefing schedule for the case, a copy of which will be
forwarded under separate notice of docket activity. Please refer to the schedule and note the key
filing dates. You should also review Federal Rules of Appellate Procedure 28 and 32, as well as
Eighth Circuit Rules 28A and 32A. Sample briefs may be obtained by contacting the St. Louis
Clerk's office.

        Within 14 days of today's date, counsel for appellant must: (1) file a verification that any
transcripts needed for the appeal have been ordered and that satisfactory arrangements have been
made for payment, and (2) file a notice of the method of appendix preparation selected for the
case. Eighth Circuit Rule 30A contains detailed information on appendix preparation.

        The court has directed the clerk's office to monitor and enforce compliance with the
briefing schedule. Failure to file your brief will result in issuance of a show cause order and may
lead to dismissal of the appeal. Requests for extensions of time must be timely and should
establish good cause. Overlength briefs are strongly discouraged.




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       Please note the provisions of Eighth Circuit Rule 32A governing briefs and reply briefs
responding to multiple briefs.

       On June 1, 2007, the Eighth Circuit implemented the appellate version of CM/ECF.
Electronic filing is now mandatory for attorneys and voluntary for pro se litigants proceeding
without an attorney. Information about electronic filing can be found at the court's web site
www.ca8.uscourts.gov. In order to become an authorized Eighth Circuit filer, you must register
with the PACER Service Center at https://www.pacer.gov/psco/cgi-bin/cmecf/ea-regform.pl.
Questions about CM/ECF may be addressed to the Clerk's office.

        If you have any questions about the schedule or procedures for the case, please contact
our office.

                                                    Michael E. Gans
                                                    Clerk of Court

CMH

Enclosure(s)

cc:      Ms. Denise Catherine Halasey
         Mr. Daniel Reiss
         Mr. Daniel Schwei
         Mr. Alan Thomas Simpson
         Ms. Cassandra Snyder
         Ms. Paige A. Wymore-Wynn

           District Court/Agency Case Number(s): 2:22-cv-04022-BCW




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Caption For Case Number: 23-1457

United States of America

             Plaintiff - Appellee

v.

State of Missouri; Michael L. Parson, Governor of the State of Missouri, in his official capacity;
Andrew Bailey, Attorney General of the State of Missouri, in his official capacity

             Defendants - Appellants

Missouri Firearms Coalition; American Firearms Association; Iowa Gun Owners; Ohio Gun
Owners; Minnesota Gun Rights; Georgia Gun Owners; Wyoming Gun Owners

             Defendants




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Addresses For Case Participants: 23-1457

Mr. Jeff P. Johnson
ATTORNEY GENERAL'S OFFICE
207 W. High Street
P.O. Box 899
Jefferson City, MO 65102-0000

Ms. Denise Catherine Halasey
Room 7430
400 E. Ninth Street
Kansas City, MO 64106-0000

Mr. Daniel Reiss
U.S. DEPARTMENT OF JUSTICE
20 Massachusetts Avenue, N.W.
Washington, DC 20530-0000

Mr. Daniel Schwei
U.S. DEPARTMENT OF JUSTICE
Federal Programs
1100 L Street N.W.
Washington, DC 20005

Mr. Alan Thomas Simpson
U.S. ATTORNEY'S OFFICE
Charles Evans Whittaker Courthouse
400 E. Ninth Street
Kansas City, MO 64106-2149

Ms. Cassandra Snyder
U.S. DEPARTMENT OF JUSTICE
Civil Divison
Suite 12302
1100 L Street, N.W.
Washington, DC 20005

Ms. Paige A. Wymore-Wynn
U.S. DISTRICT COURT
Western District of Missouri Clerk's Office
80 Lafayette Street
Jefferson City, MO 65101-1557




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